     Case 2:08-cr-00137-WFN      ECF No. 1799   filed 01/27/10   PageID.6539 Page 1 of 1




 1
 2
 3                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WASHINGTON
 4
      UNITED STATES OF AMERICA,                   )
 5                                                )    NO.       CR-08-0137-WFN-7
                                Plaintiff,        )
 6                                                )
              -vs-                                )    ORDER
 7                                                )
      TRINIDAD RAMOS-GARCIA,                      )
 8    a/k/a Ubaldo Acosta-Quintera,               )
      a/k/a Trinidad Fernando Ramos-Garcia,       )
 9                                                )
                                Defendant.        )
10
11           A sentencing hearing was held January 27, 2010 in Cause No. CR-09-0011-WFN-1.
12 The Defendant, who is in custody, was present and represented by Kenneth Therrien and
13 assisted by Court-appointed interpreter Bea Rump; Assistant United States Attorney
14 Stephanie Van Marter represented the Government. Pursuant to the Defendant’s Plea
15 Agreement in the other cause number, the Government moved to dismiss the charges in this
16 case.
17           The Court has reviewed the file and is fully informed. This Order is entered to
18 memorialize and supplement the oral rulings of the Court. Accordingly,
19           IT IS ORDERED that the charges in this case shall be DISMISSED WITH
20 PREJUDICE.
21           The District Court Executive is directed to file this Order and provide copies to
22 counsel AND TO United States Probation Officer Brenda Challinor.
23           DATED this 27th day of January, 2010.
24
25                                                  s/ Wm. Fremming Nielsen
                                                       WM. FREMMING NIELSEN
26   01-27                                      SENIOR UNITED STATES DISTRICT JUDGE


     ORDER - 1
